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  12   LLC
  13

  14                       UNITED STATES DISTRICT COURT
  15           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  16

  17
       THOMAS SAYLOR, an individual,            CASE NO.: 2:23-cv-03447-MRA
  18                                            (MARx)
                         Plaintiff,
  19                                            [Removed from Los Angeles County
               v.                               Superior Court, Case No.:
  20                                            23STCV05738]
       GUICE OFFSHORE LLC, a
  21   corporation, and DOES 1 through          DISPUTED PROPOSED JURY
       25,                                      INSTRUCTIONS - CLEAN
  22
                         Defendants.
  23
                                                Complaint Filed: March 15, 2023
  24                                            Trial Date:      None set

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   1                   DISPUTED PROPOSED JURY INSTRUCTIONS
   2           In accordance with the Court’s scheduling order and Local-Rule 16.1 et seq.,
   3   Plaintiff Thomas Saylor (“Plaintiff”) and Defendant Guice Offshore LLC
   4   (“Defendant”) hereby submit their disputed proposed jury instructions as follows:
   5    NO.        TITLE                                  SOURCE                  PAGE
   6    1.         Charts and Summaries Not Received      Ninth Circuit Manual 4
                   in Evidence                            of Model Civil Jury
   7
                                                          Instructions, No. 2.14
   8
        2.         Charts and Summaries Received in       Ninth Circuit Manual 5
   9               Evidence                               of Model Civil Jury
  10                                                      Instructions, No. 2.15
  11    3.         Physical Pain, Mental Suffering, and   CACI 3905A              6
  12               Emotional Distress (Noneconomic
                   Damage)
  13
        4.         Prejudgment Interest                   CACI 3935               7
  14

  15    5.         Special Instruction no. 1                                      9

  16    6.         Special Instruction no. 2                                      10
  17    7.         Special Instruction no. 3                                      11
  18
        8.         Special Instruction no. 4                                      12
  19
        9.         Special Instruction no. 5                                      13
  20

  21    10.        Special Instruction no. 6                                      14

  22    11.        Special Instruction no. 7                                      15
  23    12.        Special Instruction no. 8                                      16
  24
        13.        Special Instruction no. 9                                      17
  25
        14.        Special Instruction no. 10                                     18
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        15.        Special Instruction no. 11                                     19

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   1
       DATE: September 27, 2024             GOMM LAW
   2

   3                                    By: /s/ Russell Gomm
                                            Russell Gomm
   4                                        Attorneys for Plaintiff
                                            THOMAS SAYLOR
   5

   6
       DATE: September 27, 2024             FISHER & PHILLIPS LLP
   7

   8                                    By: /s/ Talar Tavlian
                                            Talar Tavlian
   9                                        Attorneys for Defendant
                                            GUICE OFFSHORE LLC
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   1   I.      PLAINTIFF’S      PROPOSED        INSTRUCTIONS             DISPUTED     BY
   2           DEFENDANT
   3

   4             Plaintiff’s Proposed Instruction Disputed by Defendant, No. 1.
   5        2.14 CHARTS AND SUMMARIES NOT RECEIVED IN EVIDENCE
   6
             Certain charts and summaries not admitted into evidence may be shown to
   7   you in order to help explain the contents of books, records, documents, or other
   8
       evidence in the case. Charts and summaries are only as good as the underlying
       evidence that supports them. You should, therefore, give them only such weight
   9   as you think the underlying evidence deserves.
  10
                                           Comment
  11

  12          This instruction applies only when the charts and summaries are not admitted
       into evidence and are used for demonstrative purposes. Demonstrative materials
  13   used only as testimonial aids should not be permitted in the jury room or otherwise
  14   used by the jury during deliberations. See United States v. Wood, 943 F.2d 1048,
       1053-54 (9th Cir. 1991) (citing United States v. Soulard, 730 F.2d 1292, 1300 (9th
  15   Cir. 1984)); see also JURY INSTRUCTIONS COMMITTEE OF THE NINTH CIRCUIT, A
  16   MANUAL ON JURY TRIAL PROCEDURES § 3.10.A (2013).

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   1             Plaintiff’s Proposed Instruction Disputed by Defendant, No. 2.
   2
               2.15 CHARTS AND SUMMARIES RECEIVED IN EVIDENCE
   3
              Certain charts and summaries may be admitted into evidence to illustrate
   4
       information brought out in the trial. Charts and summaries are only as good as the
   5   testimony or other admitted evidence that supports them. You should, therefore,
       give them only such weight as you think the underlying evidence deserves.
   6

   7                                      Comment
             This instruction applies when the charts and summaries are received into
   8
       evidence. See United States v. Anekwu, 695 F.3d 967, 981 (9th Cir. 2012) (“[T]he
   9   proponent of a summary must demonstrate the admissibility of the underlying
       writings or records summarized, as a condition precedent to introduction of the
  10
       summary into evidence under [Fed. R. Evid. Evid.] 1006.”) (quoting United States
  11   v. Johnson, 594 F.2d 1253, 1257 (9th Cir. 1979)); United States v. Rizk, 660 F.3d
       1125, 1130-31 (9th Cir. 2011); see also Fed. R. Evid. 1006; JURY INSTRUCTIONS
  12
       COMMITTEE OF THE NINTH CIRCUIT, A MANUAL ON JURY TRIAL PROCEDURES §
  13   3.10.A (2013). This instruction may be unnecessary if there is no dispute as to the
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       accuracy of the chart or summary.

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   1             Plaintiff’s Proposed Instruction Disputed by Defendant, No. 3.
   2
                3905A. Physical Pain, Mental Suffering, and Emotional Distress
   3                               (Noneconomic Damage)
   4
       Past and future physical pain/mental suffering/loss of enjoyment of
   5   life/disfigurement/physical
   6   impairment/inconvenience/grief/anxiety/humiliation/emotional distress/[insert
       other damages]].
   7
       No fixed standard exists for deciding the amount of these damages. You must use
   8
       your judgment to decide a reasonable amount based on the evidence and your
   9   common sense.
  10   To recover for future [insert item of pain and suffering], Thomas Saylor must
  11   prove that he is reasonably certain to suffer that harm.

  12   For future [insert item of pain and suffering], determine the amount in current
       dollars paid at the time of judgment that will compensate Thomas Saylor for
  13
       future [insert item of pain and suffering].
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   1             Plaintiff’s Proposed Instruction Disputed by Defendant, No. 4.
   2
                        3935. Prejudgment Interest (Civ. Code, § 3288)
   3

   4
       If you decide that Thomas Saylor is entitled to recover damages for past
       economic loss in one or more of the categories of damages that he claims, then
   5   you must decide whether he should also receive prejudgment interest on each
   6   item of loss in those categories. Prejudgment interest is the amount of interest the
       law provides to a plaintiff to compensate for the loss of the ability to use the
   7   funds. If prejudgment interest is awarded, it is computed from the date on which
   8   each loss was incurred until the date on which you sign your verdict.

   9   Whether Thomas Saylor should receive an award of prejudgment interest on all,
       some, or none of any past economic damages that you may award is within your
  10
       discretion. If you award these damages to Thomas Saylor, you will be asked to
  11   address prejudgment interest in the special verdict form.
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   1   II.     FACTUAL OR LEGAL BASIS FOR DEFENDANT’S POSITION
   2           REGARDING          DISPUTE       AS     TO     PLAINTIFF’S        PROPOSED
   3           INSTRUCTIONS
   4           Defendant disputes Plaintiff’s proposed instructions of Ninth Circuit Manual
   5   of Model Civil Jury Instructions, Nos. 2.14 and 2.15 on the grounds that these
   6   instructions are unnecessary since no charts or summaries are required for this
   7   straight forward employment case.             Introducing charts or summaries can
   8   improperly confuse the jury. No charts or summaries have been produced in
   9   discovery and accordingly should not be used a trial.
  10           Defendant disputes Plaintiff’s proposed instruction of CACI 3905A because
  11   Plaintiff wants to include the following language in the bracket therein:
  12           1. Past and future loss of enjoyment of life
  13           2. Past and future inconvenience
  14           3. Past and future grief
  15           4. Past and future anxiety
  16           5. Past and future humiliation
  17           6. Past and future emotional distress
  18           Such language is highly objectionable and prejudicial because it is
  19   duplicative, superfluous and/or cumulative and improperly attempts to award
  20   Plaintiff duplicate damages for the same alleged harm.
  21           Defendant disputes Plaintiff’s proposed instruction of CACI 3935 because
  22   the directions indicate to “[g]ive this instruction if the court determines that the jury
  23   may award prejudgment interest.” Such a determination has not yet been made and
  24   the instruction is premature at this time and should not be given.
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   1   III.    DEFENDANT’S PROPOSED INSTRUCTIONS DISPUTED BY
   2           PLAINTIFF
   3                               Special Instruction No. 1
   4

   5   “Retaliation claims are inherently fact-specific, and the impact of an employer’s
   6   action in a particular case must be evaluated in context . . . [T]he determination of
   7   whether a particular action or course of conduct rises to the level of actionable
   8   conduct should take into account the unique circumstances of the affected
   9   employee as well as the workplace context of the claim.”
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  11   Yanowitz v. L’Oreal USA, Inc. (2005) 36 Cal.4th 1028, 1052.
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    1                               Special Instruction No. 2
    2

    3   “‘Standing alone, an employee’s unarticulated belief that an employer is engaging
    4   in discrimination will not suffice to establish protected conduct for the purposes of
    5   establishing a prima facie case of retaliation, where there is no evidence the
    6   employer knew that the employee’s opposition was based upon a reasonable belief
    7   that the employer was engaging in discrimination.’ ‘[C]omplaints about personal
    8   grievances or vague or conclusory remarks that fail to put an employer on notice
    9   as to what conduct it should investigate will not suffice to establish protected
   10   conduct.’”
   11

   12   Castro-Ramirez v. Dependable Highway Express, Inc. (2016) 2 Cal.App.5th 1028,
   13   1046, internal citation omitted.
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    1                             Special Instruction No. 3
    2

    3   “While a complainant need not prove that [discriminatory] animus was the sole
    4   motivation behind a challenged action, he must prove by a preponderance of the
    5   evidence that there was a ‘causal connection’ between the employee’s protected
    6   status and the adverse employment decision.”
    7

    8   Mixon v. Fair Employment and Housing Com. (1987) 192 Cal.App.3d 1306, 1319.
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    1                                Special Instruction No. 4
    2

    3   “Requiring the plaintiff to show that discrimination was a substantial motivating
    4   factor, rather than simply a motivating factor, more effectively ensures that liability
    5   will not be imposed based on evidence of mere thoughts or passing statements
    6   unrelated to the disputed employment decision. At the same time, . . . proof that
    7   discrimination was a substantial factor in an employment decision triggers the
    8   deterrent purpose of the FEHA and thus exposes the employer to liability, even if
    9   other factors would have led the employer to make the same decision at the time.”
   10

   11   Harris v. City of Santa Monica (2013) 56 Cal.4th 203, 232, emphasis in original.
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    1                                Special Instruction No. 5
    2

    3   “The plaintiff’s burden is to prove, by competent evidence, that the employer’s
    4   proffered justification is mere pretext; i.e., that the presumptively valid reason for
    5   the employer’s action was in fact a coverup. . . . In responding to the employer’s
    6   showing of a legitimate reason for the complained-of action, the plaintiff cannot “
    7   ‘simply show the employer’s decision was wrong, mistaken, or unwise. Rather, the
    8   employee ‘ “must demonstrate such weaknesses, implausibilities, inconsistencies,
    9   incoherencies, or contradictions in the employer’s proffered legitimate reasons for
   10   its action that a reasonable factfinder could rationally find them “unworthy of
   11   credence,” . . . and hence infer “that the employer did not act for the [asserted] non-
   12   discriminatory reasons.”
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   14   Jumaane v. City of Los Angeles (2015) 241 Cal.App.4th 1390, 1409.
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    1                               Special Instruction No. 6
    2

    3   “[A] plaintiff in a discrimination case must show discrimination, not just that the
    4   employer’s decision was wrong, mistaken, or unwise. . . . ‘ “The employer may fire
    5   an employee for a good reason, a bad reason, a reason based on erroneous facts, or
    6   for no reason at all, as long as its action is not for a discriminatory reason. . . .
    7   ‘While an employer’s judgment or course of action may seem poor or erroneous to
    8   outsiders, the relevant question is . . . whether the given reason was a pretext for
    9   illegal discrimination. The employer’s stated legitimate reason . . . does not have
   10   to be a reason that the judge or jurors would act on or approve.’”
   11

   12   Veronese v. Lucasfilm Ltd. (2012) 212 Cal.App.4th 1, 21, internal citation omitted;
   13   Hersant v. Dept. of Social Services (1997) 57 Cal.App.4th 997, 1005.
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    1                               Special Instruction No. 7
    2

    3   “What constitutes satisfactory performance is of course a question ordinarily vested
    4   in the employer’s sole discretion. An employer is free to set standards that might
    5   appear unreasonable to outside observers, and to discipline employees who fail to
    6   meet those standards, so long as the standards are applied evenhandedly. But that
    7   does not mean that an employer conclusively establishes the governing standard of
    8   competence in an employment discrimination action merely by asserting that the
    9   plaintiff’s performance was less than satisfactory. Evidence of the employer’s
   10   policies and practices, including its treatment of other employees, may support a
   11   contention, and an eventual finding, that the plaintiff’s job performance did in fact
   12   satisfy the employer’s own norms.”
   13

   14   Cheal v. El Camino Hospital (2014) 223 Cal.App.4th 736, 742–743.
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    1                              Special Instruction No. 8
    2

    3   “The working environment must be evaluated in light of the totality of the
    4   circumstances: ‘[W]hether an environment is “hostile” or “abusive” can be
    5   determined only by looking at all the circumstances. These may include the
    6   frequency of the discriminatory conduct; its severity; whether it is physically
    7   threatening or humiliating, or a mere offensive utterance; and whether it
    8   unreasonably interferes with an employee’s work performance.’”
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   10   Miller v. Dept. of Corrections (2005) 36 Cal.4th 446, 462.
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    1                                 Special Instruction No. 9
    2

    3   “[T]he adjudicator’s inquiry should center, dominantly, on whether the
    4   discriminatory conduct has unreasonably interfered with the plaintiff’s work
    5   performance. To show such interference, ‘the plaintiff need not prove that his or
    6   her tangible productivity has declined as a result of the harassment.’ It suffices to
    7   prove that a reasonable person subjected to the discriminatory conduct would find,
    8   as the plaintiff did, that the harassment so altered working conditions as to ‘make
    9   it more difficult to do the job.’”
   10

   11   Harris v. Forklift Sys. (1993) 510 U.S. 17, 25, conc. opn. of Ginsburg, J.; see Gov.
   12   v. Code, § 12923(a).
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    1                              Special Instruction No. 10
    2

    3   “The work environment must be viewed from the perspective of a reasonable
    4   person in the plaintiff’s position, considering ‘all the circumstances.’ This
    5   determination requires judges and juries to exercise ‘[c]ommon sense, and an
    6   appropriate sensitivity to social context’ in order to evaluate whether a reasonable
    7   person in the plaintiff’s position would find the conduct severely hostile or
    8   abusive.”
    9
   10   Beyda v. City of Los Angeles (1998) 65 Cal.App.4th 511, 518–519.
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    1                                 Special Instruction No. 11
    2

    3

    4   “[L]iability [for intentional infliction of emotional distress] ‘does not extend to
    5   mere insults, indignities, threats, annoyances, petty oppressions, or other
    6   trivialities. . . . There is no occasion for the law to intervene . . . where someone’s
    7   feelings are hurt.’”
    8

    9   Agarwal v. Johnson (1979) 25 Cal.3d 932, 946.
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    1   IV.     FACTUAL OR LEGAL BASIS FOR PLAINTIFF’S POSITION
    2           REGARDING DISPUTE AS TO DEFENDANT’S PROPOSED
    3           INSTRUCTIONS
    4           Plaintiff objects to Defendant’s proposed instructions on the following
    5   grounds.
    6           Defendant’s proposed Special Instruction Number 1 regarding retaliation
    7   contains essentially no information and simply states the obvious, that whether
    8   certain conduct constitutes retaliation depends on the specific facts involved. The
    9   jury will be obviously be hearing the specific facts at issue. Simply pointing that
   10   out adds nothing helpful to the analysis given in the CACI instructions and can only
   11   serve to confuse.
   12           Defendant’s     proposed    Special    Instruction   Number    2   regarding
   13   discrimination and retaliation simply restates the analysis already provided by the
   14   CACI instructions. In so doing, it also confuses the issues that may be the basis of
   15   complaints. Specifically, ”personal grievances” could be taken to refer to harassing
   16   or discriminatory conduct that actually is a valid basis for complaint. In addition,
   17   the proposed instruction contains unnecessarily technical diction—e.g., “an
   18   employee’s unarticulated belief,” “will not suffice to establish protected conduct,”
   19   “prima facie case of retaliation.” Further, the length and complex syntax of the
   20   sentences make them difficult to follow and understand.
   21           Defendant’s     proposed    Special    Instruction   Number    3   regarding
   22   discriminatory motivation simply restates the substance of the CACI instructions
   23   and contains overly technical diction—e.g., “discriminatory animus,” “causal
   24   connection,” “adverse employment decision.”
   25           Defendant’s     proposed    Special    Instruction   Number    4   regarding
   26   discriminatory motive simply restates the substance of the CACI instructions. It
   27   also contains overly technical diction (“more effectively ensures liability will not
   28   be imposed,” “triggers the deterrent purpose of the FEHA”) and unnecessary

                                                  20
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    1   reference to legal concepts.
    2           Defendant’s     proposed    Special    Instruction   Number    5   regarding
    3   discriminatory motive simply restates the substance of the CACI instructions. It
    4   also contains overly technical diction (“competent evidence,” “proffered
    5   justification,” “pretext,” “presumptively valid”).
    6           Defendant’s     proposed    Special    Instruction   Number    6   regarding
    7   discriminatory motive simply restates the substance of the CACI instructions,
    8   creating unnecessarily duplication and thereby emphasis, improperly implying a
    9   greater burden on plaintiff than provided under the CACI language.
   10           Defendant’s proposed Special Instruction Number 7 regarding satisfactory
   11   performance improperly attempts to add additional considerations that are not part
   12   of the elements of plaintiff’s claims. This unnecessary explanation of and emphasis
   13   on whether performance was satisfactory improperly implies that the jury should
   14   give special consideration to it. The proposed instruction also contains overly
   15   technical diction (“a question ordinarily vested in the employer’s sole discretion,”
   16   “an employer conclusively establishes the governing standard of competence,”
   17   “may support a contention, and an eventual finding”).
   18           Defendant’s proposed Special Instruction Numbers 8 and 10 regarding a
   19   hostile environment improperly attempts to add additional elements that plaintiff
   20   would have to establish to prove harassment. The CACI instructions already
   21   properly and adequately state the decision the jury is to make.
   22           Defendant’s     proposed    Special    Instruction   Number    9   regarding
   23   discrimination attempts to add elements not found in the CACI instructions. It also
   24   contains unnecessarily technical diction (“adjudicator’s inquiry should center,
   25   dominantly,” “prove that his or her tangible productivity has declined,” “so altered
   26   working conditions”).
   27           Defendant’s proposed Special Instruction Number 11 regarding infliction of
   28   emotional distress improperly changes the substance of the elements in the CACI

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    1   instructions. The statement liability is not warranted “where someone’s feelings are
    2   hurt” is vague and could be interpreted to contradict the CACI language.
    3
        DATE: September 27, 2024                  GOMM LAW
    4

    5                                        By: /s/ Russell Gomm
                                                 Russell Gomm
    6                                            Attorneys for Plaintiff
                                                 THOMAS SAYLOR
    7

    8

    9
        DATE: September 27, 2024                  FISHER & PHILLIPS LLP
   10

   11
                                             By: /s/ Talar Tavlian
   12                                            William O. Stein
                                                 Talar Tavlian
   13                                            Attorneys for Defendant
                                                 GUICE OFFSHORE LLC
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    1                                          PROOF OF SERVICE
                                             (CCP §§1013(a) and 2015.5)
    2
               I, the undersigned, am at least 18 years old and not a party to this action. I am employed
    3   in the County of Los Angeles with the law offices of Fisher & Phillips LLP and its business
        address is 444 South Flower Street, Suite 1500, Los Angeles, California 90071.
    4   On September 27, 2024, I served the following document(s) DISPUTED PROPOSED
        JURY INSTRUCTIONS - CLEAN on the person(s) listed below by placing the
    5   original        a true copy thereof enclosed in sealed envelope(s) addressed as follows:
    6    Russell Gomm                                          Attorney for Plaintiff
         GOMM LAW LLC                                          THOMAS SAYLOR
    7    510 N Darwood Ave
         San Dimas, CA 91773                                   Tel: (213) 254-5759
    8                                                          Email: russell@gomm.law
               [by MAIL] - I enclosed the document(s) in a sealed envelope or package addressed to
    9           the person(s) whose address(es) are listed above and placed the envelope for collection
                and mailing, following our ordinary business practices. I am readily familiar with this
   10           business’s practice for collecting and processing correspondence for mailing. On the
                same day that correspondence is placed for collection and mailing, it is deposited in the
   11           ordinary course of business with the United States Postal Service in Los Angeles
                California, in a sealed envelope with postage fully prepaid.
   12          [by OVERNIGHT DELIVERY] - I enclosed the document(s) in an envelope or package
                provided by an overnight delivery carrier and addressed to the person(s) at the address(es)
   13           listed above. I placed the envelope or package for collection and overnight delivery at an
                office or a regularly utilized drop box of the overnight carrier.
   14          [by ELECTRONIC SUBMISSION] - I served the above listed document(s) described
                via the United States District Court’s Electronic Filing Program on the designated
   15           recipients via electronic transmission through the CM/ECF system on the Court’s
                website. The Court’s CM/ECF system will generate a Notice of Electronic Filing (NEF)
   16           to the filing party, the assigned judge, and any registered users in the case. The NEF will
                constitute service of the document(s). Registration as a CM/ECF user constitutes consent
   17           to electronic service through the court’s transmission facilities.
               [by ELECTRONIC SERVICE] - Based on a court order or an agreement of the parties
   18           to accept service by electronic transmission, I electronically served the document(s) to
                the person(s) at the electronic service address(es) listed above.
   19
               I declare under penalty of perjury, under the laws of the State of California, that the
   20   foregoing is true and correct.

   21           Executed September 27, 2024, at Los Angeles, California.
   22       Anh Tran                                     By: /s/ Anh Tran
                             Print Name                                             Signature
   23

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                                                  PROOF OF SERVICE
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